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                                                                                     United States Bankruptcy Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                      IN THE UNITED STATED BANKRUPTCY COURT                                 July 18, 2024
                        FOR THE SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

IN RE:                                            §
                                                  §       CASE NO: 24-31596
MMA LAW FIRM, PLLC,                               §
                                                  §
          Debtor.                                 §
                                                  §
                                                  §       CHAPTER 11

                                           ORDER
                                       TO SHOW CAUSE

        On July 3, 2024, the Official Committee of Unsecured Creditors (the “UCC”) filed its
“Application to Employ Kane Russell Coleman Logan PC as Counsel for the Official Unsecured
Creditors’ Committee” (the “Motion”).1 Attached to the Motion is the “Declaration of Joseph M.
Coleman In Support of Application to Employ Kane Russell Coleman Logan PC as Counsel for
the Official Unsecured Creditors’ Committee”2 (the “Declaration”). On July 17, 2024, the Court
held a hearing on MMA Law Firm, PLLC’s “Debtor’s Emergency Motion to Extend Deadline to
Respond to the Application to Employ Kane Russell Coleman Logan PC as Counsel for the
Official Unsecured Creditors’ Committee”3 and Michael Ridulfo, an attorney from Kane Russell
Coleman Logan (“KRCL”) was questioned by the Court.

        Specifically, the Court questioned paragraph 12 of the Declaration, signed by Joseph M.
Coleman of KRCL, which indicates: “Except as otherwise disclosed herein or in the accompanying
Application, KRCL has no financial connection or relationship with the Debtor, members,
creditors, or parties-in-interest in this case. However, as part of its diverse practice, KRCL appears
in cases, proceedings, and transactions involving many different professionals, including
attorneys, accountants, financial consultants, and investment bankers, some of which may be, or
may represent claimants and parties-in-interest in the Debtor's case.”4 Mr. Michael Ridulfo
explained that KRCL have no connection or relationship to parties in this case that would need to
be disclosed, seemingly contradicting the Declaration, which indicates KRCL’s interactions with
attorneys, accountants, financial consultants, and investment bankers may be or may represent
claimants and parties-in-interest in the Debtor's case.5 The Court, finding Mr. Ridulfo’s
representation and the Declaration at odds with each other, deems it necessary to set a Show Cause
Hearing to determine if there has been a violation of Federal Rule of Bankruptcy Procedure 9011,
and if a criminal referral under 18 U.S.C. § 152, 18 U.S.C. § 1621, or 18 U.S.C. § 1623 is
warranted.


1
  ECF No. 142.
2
  ECF No. 142-1.
3
  ECF No. 144.
4
  ECF No. 142-2 at ¶ 12.
5
  July 17, 2024 – Courtroom Hearing.
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      Accordingly, it is therefore:

ORDERED: that

  1. An in person hearing will be held on July 30, 2024, at 8:30 a.m. (Central Standard Time)
     before the United States Bankruptcy Court, Bob Casey Federal Building, Courtroom #402,
     515 Rusk, Houston Texas, 77002.

  2. Mr. Joseph M. Coleman and Mr. Michael Ridulfo of Kane Russell Coleman Logan PC
     must attend in-person and be prepared to show cause as to why there is no violation of
     Federal Rule of Bankruptcy Procedure 9011 and why a criminal referral pursuant to 18
     U.S.C. § 3057(a) is not warranted.

  3. Pursuant to Bankruptcy General Order 2021-05 parties other than Mr. Joseph M. Coleman
     and Mr. Michael Ridulfo may either appear electronically or in person unless otherwise
     ordered by this Court.

  4. To participate electronically, parties must follow the instructions set forth on Judge
     Rodriguez’s web page located at: https://www.txs.uscourts.gov/content/united-states-
     bankruptcy-judge-eduardo-v-rodriguez. Parties are additionally instructed to: (i) call in
     utilizing the dial-in-number for hearings before Judge Rodriguez at 832-917-1510,
     conference room number 999276 and (ii) log on to GoToMeeting for video appearances
     and witness testimony, utilizing conference code: judgerodriguez. Parties MUST HAVE
     TWO SEPARATE DEVICES to appear by video and telephonically. One device will
     be used to log on to GoToMeeting and the other will be used to call the telephonic
     conference line.

  5. The United States Trustee is invited to attend.

  6. Not later than July 19, 2024, the Official Committee of Unsecured Creditors must serve a
     copy of this Order on all parties entitled to notice of the hearing and file a certificate of
     service with the Clerk’s office.

      SIGNED July 18, 2024


                                                       ________________________________
                                                               Eduardo V. Rodriguez
                                                        Chief United States Bankruptcy Judge
